     Case: 3:13-cv-00275-TMR Doc #: 1 Filed: 08/19/13 Page: 1 of 7 PAGEID #: 1




                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF OHIO
                                 WESTERN DIVISION

MELISHA WATT                                )    CASE NO: 13-cv-275
1857 Penbrooke Trail                        )
Dayton, Ohio 45459                          )    JUDGE _____________________
                                            )
      Plaintiff,                            )
                                            )
      v.                                    )
                                            )
MERCANTILE ADJUSTMENT                       )
BUREAU, LLC                                 )
c/o NATIONAL REGISTERED                     )
AGENTS, INC. (Statutory Agent)              )
1300 East Ninth Street                      )
Cleveland, Ohio 44114,                      )
                                            )    JURY TRIAL DEMANDED
       and                                  )
                                            )
SECURITY CREDIT SERVICES, LLC               )
c/o William Alias, Jr. (Stat. Agent)        )
2653 West Oxford Loop, Suite 108            )
PO Box 1156                                 )
Oxford, MS 38655,                           )
                                            )
      and                                   )
                                            )
WILLIAM ALIAS, JR.                          )
2612 Jackson Avenue                         )
Oxford, MS 38655,                           )
                                            )
     Defendants.                            )



                                   COMPLAINT




                                        1
     Case: 3:13-cv-00275-TMR Doc #: 1 Filed: 08/19/13 Page: 2 of 7 PAGEID #: 2




       NOW COMES PLAINTIFF, MELISHA WATT by and through the undersigned

counsel, and for her complaint against Defendants, MERCANTILE ADJUSTMENT

BUREAU, LLC, SECURITY CREDIT SERVICES, LLC, and WILLIAM ALIAS, JR.,

alleges and states as follows:

                                       INTRODUCTION

1.     This is an action for statutory and actual damages brought by Plaintiff Melisha Watt, an

       individual consumer, against Mercantile Adjustment Bureau, LLC (“Mercantile”),

       Security Credit Services, LLC (“Security”) and William Alias, Jr., for violations of the

       Fair Debt Collection Practices Act, 15 U.S.C. §1692 et seq., (the “FDCPA”), which

       prohibits debt collectors from engaging in abusive, deceptive, and unfair practices, and

       which creates a private right of action to redress violations thereof.

2.     These acts and practices similarly constitute violations Ohio’s Consumer Sales Practices

       Act, R.C. §1345.01 et seq. (“CSPA”).

                                 VENUE AND JURISDICTION

3.     This action arises under 15 U.S.C. §1692, a federal statute, and thus this Court has

       jurisdiction over the subject matter of this action pursuant to 28 U.S.C. §1331.

4.     Venue is properly laid in this District pursuant to 28 U.S.C. §1391 in that Defendants

       transact business in this District and the cause of action asserted herein arose in this

       District.

                                            PARTIES

5.     Ms. Watt is, and was at all relevant times herein, a resident of Dayton, Ohio.

6.     Ms. Watt is a “consumer” as that term is defined by the FDCPA, 15 U.S.C. §1692a(3).

7.     Ms. Watt is a “consumer” as defined in the CSPA, R.C. §1345.01(D).



                                                 2
      Case: 3:13-cv-00275-TMR Doc #: 1 Filed: 08/19/13 Page: 3 of 7 PAGEID #: 3




8.     Mercantile is a foreign corporate entity registered to do business in Ohio, which attempts

       to collect debts or otherwise obtain funds from Ohio consumers.

9.     Mercantile is a “debt collector” as that term is defined in 15 U.S.C. §1692a(6).

10.    Mercantile is a “supplier” as defined at RC §1345.01(C).

11.    Security is a foreign corporate entity not registered to do business in Ohio, which

       nevertheless attempts to collect debts or otherwise obtain funds from Ohio consumers.

12.    Security is a “debt collector” as that term is defined in 15 U.S.C. §1692a(6).

13.    Security is a “supplier” as defined at RC §1345.01(C).

14.    William Alias, Jr. is an officer and shareholder of Security.

15.    William Alias, Jr. is a “debt collector” as that term is defined in 15 U.S.C. §1692a(6).

16.    William Alias, Jr. is a “supplier” as defined at RC §1345.01(C).

                                               FACTS

17.    In October 2007, to the best of her recollection, Melisha Watt opened a store credit

       account with Meijer.

18.    That account had a $425 credit limit.

19.    Ms. Watt made one or more purchases of consumer goods with that account, and she

       made payments thereon.

20.    According to her credit report, Ms. Watt’s last payment on the Meijer’s store credit

       account was made in May 2008.

21.    There may have been a remaining card balance of not more than $397.

22.    According this her credit report, Meijer charged off this amount sometime around

       November 2008.




                                                 3
      Case: 3:13-cv-00275-TMR Doc #: 1 Filed: 08/19/13 Page: 4 of 7 PAGEID #: 4




23.    In November of 2011, Mercantile sent a dunning letter to Ms. Watt, attempting to collect

       on this old Meijer account.

24.    The dunning letter represented that Mercantile was collecting this debt on behalf of

       Security, which apparently acquired the account at some point in time.

25.    Mercantile further claimed that the debt owed on this account exceeded $1,400.00.

26.    Such amount could not possibly be accurate, because such amount would represent a

       more than 352% increase in the charged-off amount in a mere three (3) years.

27.    Nonetheless, out of fear of damage to her credit and out of a desire to do the right thing,

       Ms. Watt made one or more payments to Mercantile and, thus, to Security, based on their

       representations to her of the amount owed.

28.    Ms. Watt continued to make payments to Defendants through the end of 2012.

29.    On February 11, 2013, Attorney Michael L. Fine sent written notification (by fax with

       electronic confirmation of receipt and with hardcopy forwarded by first class mail) to

       Mercantile (and, thus, to Security) that he represented Ms. Watt in relation to the alleged

       debt.

30.    Attorney Fine informed Defendants that Ms. Watt disputed the debt and its calculation,

       and he requested verification thereof.

31.    Neither Mercantile nor Security responded to Ms. Watt’s attorney.

32.    Rather, they apparently sold the debt to another collector.

33.    In connection with the facts, events, and averments herein, Defendants acted willfully

       and maliciously, with spite and ill will, and/or with reckless disregard for Plaintiffs’

       rights and safety.




                                                4
      Case: 3:13-cv-00275-TMR Doc #: 1 Filed: 08/19/13 Page: 5 of 7 PAGEID #: 5




                                     FIRST CLAIM FOR RELIEF
                                         (FDCPA Violations)

34.    Plaintiff re-alleges and incorporates by reference each and every preceding paragraph as

       if fully re-written herein.

35.    Defendants     violated   15     U.S.C.   §§1692e(2)(A),   1692e(10)   and   1692f(1)   by

       misrepresenting to Ms. Watt the amount owed on an alleged debt and by attempting to

       collect and collecting amounts that were not expressly authorized by an agreement or

       permitted by law.

36.    Defendants violated 15 U.S.C. §1692g(b) by continuing collection activities on an

       account after a request for verification was made.

37.    Defendants violated other provisions of the FDCPA as described herein and to be proven

       at trial.

38.    As a result of the foregoing, Ms. Watt has suffered actual damages.

39.    Under the FDCPA, Ms. Watt is entitled to recover statutory damages, actual, damages,

       attorney fees, and costs, for the violations described herein.

                                 SECOND CLAIM FOR RELIEF
                                      (CSPA Violations)

40.    Plaintiff re-alleges and incorporates by reference each and every preceding paragraph as

       if fully re-written herein.

41.    R.C. §1345.02 prohibits unfair and deceptive acts and practices in connection with a

       consumer transaction.

42.    As described herein and as to be proven at trial, Defendants violated this statute by

       making misrepresentations and engaging in deceptive acts.




                                                  5
      Case: 3:13-cv-00275-TMR Doc #: 1 Filed: 08/19/13 Page: 6 of 7 PAGEID #: 6




43.    R.C. §1345.03 prohibits the unconscionable acts and practices in connection with a

       consumer transaction.

44.    As described herein and as to be proven at trial, Defendants violated this statute by

       engaging in unconscionable acts and practices.

45.    Additionally, by violating the FDCPA, Defendants have violated CSPA.

46.    Each of Defendants’ violations of the FDCPA is a separate violation of the CSPA.

47.    The Public Inspection File of the Ohio Attorney General contains cases declaring the acts

       and practices described herein to be illegal.

48.    As a result of Defendants’ violations of the CSPA, Plaintiff is entitled to compensatory

       damages, treble damages and attorney’s fees.


                                    PRAYER FOR RELIEF

       WHEREFORE, Plaintiff prays as follows:

       A. That this Court award to Ms. Watt statutory damages of $1,000 from Defendants

          herein for its various violations of the FDCPA.

       B. That this Court award to Ms. Watt the greater of treble her actual damages or

          statutory damages in the amount of $200.00 for each of Defendant’s violations of the

          CSPA.

       C. That this Court award to Ms. Watt her actual damages, to include the return of all

          monies paid to Defendants.

       D. That this Court award attorney’s fees, costs, and interest to Ms. Watt pursuant to the

          FDCPA and the CSPA.




                                                 6
Case: 3:13-cv-00275-TMR Doc #: 1 Filed: 08/19/13 Page: 7 of 7 PAGEID #: 7




 E. That this Honorable Court award to Ms. Watt such other and further relief as may be

     just and equitable, including a declaratory judgment that the acts and practices of

     Defendants are illegal.



                                          Respectfully submitted,
                                          s/ Michael L. Fine___________________
                                          Michael L. Fine (0077131)
                                          3637 South Green Road, 2nd Floor
                                          Beachwood, OH 44122
                                          Phone & fax: (216) 292-8884
                                          mfine@ohioconsumerlawyer.com



                                    JURY DEMAND

 Plaintiff hereby requests a trial by jury as to all issues of fact in this action.


                                          s/ Michael L. Fine___________________
                                          Michael L. Fine (0077131)
                                          3637 South Green Road, 2nd Floor
                                          Beachwood, OH 44122
                                          Phone & fax: (216) 292-8884




                                             7
